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Plaintiff

VS.
CFt. NO. 03-20395-B

DAV|D EARL FRANKL|N,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on April 25, 2005. At that time, counsel for the
defendant requested a continuance of the |Vlay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Juhe 6, 2005 with a @p_or_t_
date of Tuesdav. Nlav 31. 2005, at 9:30 a.m., in Courtroorn 1, 11th Floor of the Federal
Bui|ding, l\/lemphis, TN.

The period from l\/lay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

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iT is so oRDEFzED this ?_L day rii, 2005.

 

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z document entered on the docket sheet in compliance /73
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luis 55 and/orS?(b) FHCrP on 4 22 7'05

UNITED sTATE D"ISIC COURT - WESERNT D'S'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 73 in
case 2:03-CR-20395 Was distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

